        Case 1:14-cv-01528-VEC Document 144 Filed 02/14/20 Page 1 of 1



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February 14, 2020                                                         Scott.Kessler@akerman.com

VIA ECF

Hon. Valerie E. Caproni, U.S.D.J.
United States Courthouse
40 Foley Square
New York, NY 10007

       Re:    SEC v. Davis, et al., (1:14-cv-01528-VEC)

Dear Judge Caproni:

       We represent defendant Joel Sanders (“Sanders”) in this matter, and we write to provide
the Court with a report on the status of Sanders’ criminal appeal, as directed by Your Honor on
June 12, 2018 (Doc. No. 129).

       Sanders’ amended brief was filed on August 5, 2019. The Government originally
requested an extension of time to file its response, to which Sanders stipulated. An adjournment
was granted to move the appeal to the March 2020 Term. Thereafter, on January 16, 2020, at the
Government’s request, Sanders stipulated to further adjourn the appeal to the September 2020
Term, which remains subject to the approval of the First Department.

        We remain available should the Court have any questions concerning this update or the
status of Sanders’ criminal appeal.


                                     Respectfully submitted,

                                     /s/ Scott M. Kessler

                                     Scott M. Kessler

cc:    Counsel of Record (via ECF)




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